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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                             Case Number: 21-23322-CIV-MORENO

    ADVANCE MAGAZINE PUBLISHERS INC.,
    d/b/a CONDÉ NAST,

                         Plaintiff,

    v.

    ZHEJIANG XIBIN IMPORT AND EXPORT
    CO., LTD., XIMIVOGUE USA
    FRANCHISING, LLC, XIMI VOGUE
    FLORIDA, LLC, XIMIVOGUE BAL
    HARBOUR LLC, XIMIVOGUE BAYSIDE
    LLC, XIMIVOGUE PEMBROKE LLC,
    XIMIVOGUE WESTLAND LLC, XIMI
    VOGUE PLAZA DEL SOL, LLC,
    XIMIVOGUE LLC, ALEJANDRO
    GUERRERO, STEPHENIA LIMA,
    SHAHPOUR DALIRIAN, YANET
    BARKLEY, XIMI VOGUE FLORIDA
    BROWARD LLC, XIMI FLORIDA 001 LLC,
    XIMI FLORIDA 002 LLC, XIMI FLORIDA
    003 LLC, XIMI FLORIDA 004 LLC, XIMI
    FLORIDA 005 LLC, XIMI VOGUE, INC.,
    XIMI CALIFORNIA 001 LLC, KKCUTE INC.
    (FORMERLY d/b/a XIMIVOGUE CHICAGO
    INC.), and XIMIVOGUE NORTH
    CAROLINA, LLC,

                      Defendants.
    ______________________________________/

     [PROPOSED] DEFAULT FINAL JUDGMENT AND PERMANENT INJUNCTION

          Before the Court is a Motion for Default Final Judgment and Permanent Injunction (the

   “Motion”) by Plaintiff Advance Magazine Publishers Inc. d/b/a Condé Nast (“Plaintiff”) against

   Defendant KKCute, Inc. (formerly d/b/a Ximivogue Chicago Inc.) (“Defendant”).
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          After considering the Motion, IT IS ORDERED AND ADJUDGED:

          1.      Final default judgment is entered in Plaintiff’s favor against Defendant on all

   counts in the Complaint.

          2.      Defendant and its officers, directors, agents, servants, employees, and all persons

   in active concert and participation with them, are required to immediately cease any use and are

   permanently enjoined from directly or indirectly using Plaintiff’s VOGUE Marks, or any other

   mark, word, designation, name, or domain name that is similar to Plaintiff’s VOGUE Marks as

   part of any trademark, service mark, trade name, corporate name, or assumed name; or on the

   Internet in any domain name, title, description, keyword, source code, tag, banner, link, and any

   other use for the purpose of directing Internet traffic; or in social media; or in any other manner

   in connection with business, products, or services within the United States; or in any other

   manner that is likely to cause confusion or mistake or to deceive.

          3.      Defendant is ordered to deliver up for destruction all products, literature, signs,

   labels, tags, prints, packages, wrappers, containers, fabrics, advertising materials, stationery, and

   any other items in Defendant’s possession or control that bear Plaintiff’s VOGUE Marks, or any

   other mark, word, designation, name, or domain name that is confusingly similar to Plaintiff’s

   VOGUE Marks, and that Defendant be ordered to deliver up for destruction all plates, molds,

   matrices, masters, and other means of producing or applying the prohibited marks.

          4.      The Court shall retain jurisdiction over the parties for the purpose of any

   proceeding to enforce this Final Default Judgment and Permanent Injunction.




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          5.      This Final Default Judgment and Permanent Injunction is a final judgment and

   suitable for entry by the Clerk.



          IT IS SO ORDERED this ___ day of __________ 2022.



                                                    ______________________________
                                                    Honorable Federico A. Moreno
                                                    United States District Judge




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